Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 1 of 9 PageID: 7




                      EXHIBIT A
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 2 of 9 PageID: 8
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 3 of 9 PageID: 9
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 4 of 9 PageID: 10
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 5 of 9 PageID: 11
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 6 of 9 PageID: 12
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 7 of 9 PageID: 13
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 8 of 9 PageID: 14
Case 2:20-cv-09301-MCA-LDW Document 1-1 Filed 07/22/20 Page 9 of 9 PageID: 15
